UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE:                                                          :
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OPENAI, INC.,                                                   :        25-md-3143 (SHS) (OTW)
COPYRIGHT INFRINGEMENT LITIGATION,                              :
                                                                :
                                                                :        ORDER
This Document Relates To:                                       :
23-cv-11195                                                     :
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         ONA T. WANG, United States Magistrate Judge:

         The Court has scheduled a separate conference to discuss OpenAI’s deletion of certain

output log data, with timelines for supplemental briefing. (See ECF 32). The deletion of the

output log data was first raised with the Court in January 2025 and discussed at the January 22,

2025, conference. (See 23-cv-11195, ECF 379); (23-cv-8292, ECF 327, “Tr. Jan. 22, 2025”). 1

Based on the colloquy at the conference, I denied the News Plaintiffs’ request for “wholesale

preservation of the output log data.” (See 23-cv-11195, ECF 441 at 2). But, I asked:

                   Is there a way to segregate the data for the users that have
                   expressly asked for their chat logs to be deleted, or is there a way
                   to anonymize in such a way that their privacy concerns are
                   addressed... what’s the legal issue here about why you can’t, as
                   opposed to why you would not?

(Tr. Jan. 22, 2025, at 40). OpenAI expressed a reluctance for a “carte blanche, preserve

everything request,” (Id. at 41), and raised not only user preferences and requests, but also

“numerous privacy laws and regulations throughout the country and the world that also




1
  The transcript for the January 22, 2025, discovery status conference that took place before me is currently
located at 23-cv-8292, ECF No. 327, and 24-cv-00084, ECF 135. The docket text incorrectly states that the January
22 conference took place before Judge Stein.
contemplate these type of deletion requests or that users have these types of abilities.”

(Id. at 42).

         The Court has reviewed the News Plaintiffs’ renewal of their request for an order

directing OpenAI to preserve all output log data on a going forward basis, (see ECF 29); (see also

23-cv-11195, ECF 483), and even OpenAI’s latest responses do not represent whether they have

taken—or would take—steps to preserve and segregate the output log data that has been

marked or requested for deletion, absent a court order. (23-cv-11195, ECF 491). Moreover,

while the colloquy at the January 22 conference focused on the “many, many billions of

conversations that are retained,” (Tr. Jan. 22, 2025, at 37), the News Plaintiffs’ supplemental

letter suggests that the volume of deleted conversations is significant. (ECF 29). 2

         Accordingly, OpenAI is NOW DIRECTED to preserve and segregate all output log data

that would otherwise be deleted on a going forward basis until further order of the Court (in

essence, the output log data that OpenAI has been destroying), whether such data might be

deleted at a user’s request or because of “numerous privacy laws and regulations” that might

require OpenAI to do so.


         SO ORDERED.



                                                                       s/ Ona T. Wang
Dated: May 13, 2025                                                  Ona T. Wang
       New York, New York                                            United States Magistrate Judge




2
 OpenAI has also represented to the Court that a “fraction of ChatGPT Free, Pro, and Plus conversations … have
not been retained” as a result of their “default” policy of retention. (23-cv-11195, ECF 491); (Tr. Jan. 22, 2025, at
37). While OpenAI does not elaborate on the meaning of the word “fraction” in this context, Plaintiffs’
supplemental letter does.

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